Case.

v

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UNITED STATES DISTRICT COURT
DlSTRlCT OF RHODE ISLAND

THE ESTATE GF YARON UNGAR, et al.
Plaintiffs,

vs. C.A. No. 00 - 105L
THE PALESTINIAN AUTHORITY, et al. `

Defendants
AFFIDAVIT OF NON-l\/IILITARY SERVICE
I, David J. Strachman, counsel to the plaintiffs in the above entitled_matter, on oath
depose and say that the defendants Abdel Rahman Ismail Abdel Rahman Ghanimat, lamal
Abdel Fatah Tzabich Al Hor, Raed Fal<hri Abu Hamdiya, Ibrahim Ghanimat, lman l\/lahmud
Hassan Fuad Kafishe and Hamas -~ lslamic Resistance Movement (a.l<.a. "Haral<at Al-
Muqawama Al-Islamiyya") are not at the time of the commencement of the above entitled
action, nor are they now, in the military service of the United States as defined in Article l of the

"Soldiers and Sailors Civil Relief Act of 1940", as }r§enaed, nor an infant or an incompetent

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iga@vfi;ai. sTRACHMAN

 

Subscribed and sworn to before me this day of September, 2000.
NOTARY PUBLIC
SKOLNIK, MCINTYRE &.TATE The Heritage Building °§":

 

_ 321 south Main srreec, suite 400 401_351_7700 , ,_/` §
ESQulres Ltd. Providence, R102903 Fax: 401-331-6095 f

 

 

 

 

